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     Benjamin Estill, Jennifer Nash, and
 8   Taerik Berry

 9
10                            UNITED STATES DISTRICT COURT
11                                    DISTRICT OF NEVADA
12   GERARDO PEREZ,                                        Case No. 2: 19-cv-02096-APG-EJY
13                      Plaintiff,
                                                       STIPULATION AND ORDER TO
14    V.                                                DISMISS WITH PRE JUDICE
15   JENNIFER NASH, et al.,
16                      Defendants.
17          Defendants, John Barrowman, Benjamin Estill, Jennifer Nash, and Taerik Berry, by

18   and through counsel, Aaron D. Ford, Nevada Attorney General, and Austin T. Barnum,

19   Deputy Attorney General, hereby stipulate that the above matter be dismissed with

20   prejudice as the parties reached a resolution.

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 1         Each party will bear their own attorney's fees and costs. The Court may accordingly
 2                       all deadlines are moot.
 3   DATED:                                           DATED: October 8 2021
 4                                                    AARON D. FORD
                                                      Attorney General
 5
 6                                                    By: /s/ Austin T. Barnum
     Gerardo Perez,                                      Austin T. Barnum, Bar No. 15174
 7
     Plaintiff, Pro Se                                   Deputy Attorney General
                                                         Attorneys for Defendants

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                                               ORDER
11
12         IT IS SO ORDERED. This matter is DISMISSED WITH PREJUDICE and the

13   Clerk is directed to close the case.

14                                                 DATED: October 8, 2021

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17                                                 UNITED STATES DISTRICT JUDGE
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